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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION

GINETTE HYACINTHE,

              Petitioner,

vs.                                               CASE NO.: 5:04cv63-SPM/AK

DEPARTMENT OF
HOMELAND SECURITY,

           Respondent.
________________________/

                                     ORDER

        This cause comes before the Court for consideration of the Magistrate

Judge’s Report and Recommendation (doc. 12) dated March 23, 2005. Petitioner

has been furnished a copy and afforded an opportunity to file objections pursuant

to Title 28, United States Code, Section 636(b)(1). No objections have been filed.

Having considered the report and recommendation, I have determined that the

report and recommendation should be adopted.

        Accordingly, it is hereby ORDERED as follows:

        1.     The magistrate judge’s report and recommendation (doc. 12) is

ADOPTED and incorporated by reference in this order.

        2.    Respondent’s motion to dismiss (doc. 11) is granted as to Petitioner’s
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claim for detention pending removal.        The motion to dismiss is denied as to

Petitioner’s challenge to the removal itself.

        3.      This case is remanded to the magistrate judge for further proceedings.

        DONE AND ORDERED this 10th day of May, 2005.


                                       s/ Stephan P. Mickle
                                     Stephan P. Mickle
                                     United States District Judge




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